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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA

       EDUARDO AND CARMEN AMORIN, et
       al., individually, and on behalf of all others
       similarly situated,

              Plaintiffs,

                              v.                        Case No. 1:11-CV-22408-MGC

       TAISHAN GYPSUM CO., LTD. f/k/a
       SHANDONG TAIHE DONGXIN CO.,
       LTD.; TAIAN TAISHAN
       PLASTERBOARD CO., LTD., et al.,

              Defendants.

       CLASS COUNSEL’S MOTION AND INCORPORATED MEMORANDUM
       OF LAW TO ENFORCE JUDGMENT AWARDING COMMON BENEFIT
          COUNSEL 45% OF THE TOTAL FEES (PAID BY BOTH TAISHAN
          AND CLIENTS) RECEIVED BY INDIVIDUAL COUNSEL FROM
            THE FLORIDA INDIVIDUAL SETTLEMENT (ECF NO. 408)

            Class Counsel hereby file this motion and incorporated memorandum of law

   to enforce the Court’s Order awarding common benefit counsel 45% of the fees earned

   by the individual attorneys from the Florida Individual Settlement (“FIS”) (ECF No.

   408). According to the individual counsel involved,1 this award totals $5,832,950.95

   (without interest). Now that the Eleventh Circuit has issued a mandate affirming the

   Court’s fee award (ECF No. 452), the time is ripe for the MDL Court to allocate the

   awarded fees pursuant to the procedure established by Judge Fallon in the MDL and

   agreed-to by the parties.




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    Individual Counsel involved in the FIS include: Jimmy R. Faircloth, Jr.; Jerry Parker; Mark
   Milstein; Daniel Bryson; Gary E. Mason; Gregory S. Weiss; C. David Durkee; and Ben
   Gordon.
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          Class Counsel have requested that individual counsel deposit the awarded fees

   into the MDL Court’s registry for allocation by Judge Fallon, but they have refused to

   do so, despite the fact that no stay of the mandate was requested or granted. Individual

   counsel contend that because the awarded fees are being held in their firms’ escrow

   accounts, the monies are secure, and there is no need to transfer the funds to the MDL

   while their contemplated petition for a writ of certiorari is considered by the Supreme

   Court. However, since the mandate has issued and no stay was requested or granted,

   common benefit counsel are entitled to seek without delay distribution of the fees they

   have been awarded. The conduct of individual counsel is impeding those lawful

   efforts. Therefore, this Court’s intervention is required to force the individual attorneys

   involved with the FIS to comply with this Court’s Order.

          The parties to this fee dispute agreed to a two-step process for awarding

   common benefit fees. First, a petition for common benefit fees would be filed before

   this Court. Second, Judge Fallon would allocate those fees in the MDL among eligible

   fee applicants. The parties stipulated that the individual attorneys to the FIS would file

   a motion in the MDL to lift PTO 32 governing distribution of proceeds from the

   resolution of remanded actions and request an order of Judge Fallon “recognizing that

   Judge Cooke has jurisdiction over a request by Class Counsel for an award of

   Common Benefit Costs and/or Fees out of the Florida Individual Settlement funds,[ ]

   but that Judge Fallon retains jurisdiction to allocate any such award between and

   among the individual Common Benefit Attorneys who have submitted time and/or



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   expenses in accordance with PreTrial Order No. 9 in MDL No. 2047.[ ]” (ECF No.

   320-7 at 2 (fns. omitted)). In other words, the parties contemplated and expressly

   agreed that the process for awarding common benefit fees to common benefit counsel

   out of the proceeds of the FIS would involve multiple steps and coordination between

   both this Court and Judge Fallon. In accordance with their agreement, the Individual

   Attorneys filed an unopposed motion to lift PTO 32, which Judge Fallon granted. See

   Order (MDL R. Doc. 22289), attached hereto as Exhibit “A.”

          On May 22, 2020, following extensive briefing on the issue of common benefit

   fees, this Court ruled that common benefit counsel are entitled to 45% of the fees

   earned by the individual attorneys from the FIS. Individual Counsel appealed this

   Order to the Eleventh Circuit, which affirmed on June 9, 2021. Following denial of

   the Individual Counsel’s motion for rehearing and rehearing en banc, the Eleventh

   Circuit by mandate entered its June 9, 2021 opinion as a judgment of the Court (ECF

   No. 452). No stay of the mandate was requested or granted.

          Class Counsel have requested that Individual Counsel transfer the awarded fees

   to the MDL Court’s registry for allocation, but they refuse to do so absent an Order of

   the Court. The Fee and Allocation Committee (“FAC”) appointed by Judge Fallon

   has moved to allocate those fees pro rata according to the MDL Court’s previous

   allocation order of common benefit fees from the Global Taishan Settlement. See FAC

   Motion to Allocate Common Benefit Fees, attached hereto as Exhibit “B.” Individual

   Counsel’s refusal to transfer the awarded funds to the MDL impedes the rights of



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   common benefit counsel to achieve allocation of the monies awarded to them. This

   Court’s intervention is, therefore, necessary.

          For the reasons stated herein, an Order of the Court is required to force

   Individual Counsel to comply with the Court’s fee Order and transfer the awarded

   funds to the MDL Court’s registry.

                 CERTIFICATION OF PRE-FILING CONFERENCE
                    PURSUANT TO S.D. FLA. L.R. 7.1(A)(3)

          Class Counsel have engaged in extensive discussions with Individual Counsel

   in a good faith effort to resolve the issues raised in this motion but have been unable

   to do so.

   Dated: August 19, 2021                            Respectfully submitted,



                                                     /s/ Patrick S. Montoya, Esq.
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                              CERTIFICATE OF SERVICE
          I hereby certify that that the foregoing was electronically filed with the Clerk of
   Court of the United States District Court for the Southern District of Florida by using
   the CM/ECF System, which will send a notice of electronic filing on this 19th day of
   August, 2021.



                                                       /s/ Patrick S. Montoya, Esq.
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